                     Case 1:15-cv-05871-KPF Document 131 Filed 03/07/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


                        KELLY PRICE,                           )
                             Plaintiff                         )
                                v.                             )      Case No.     1:15-cv-05871-KPF
          DETECTIVE LINDA SIMMONS, et al.,                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Kelly Price                                                                                       .


Date:          03/07/2019                                                             /s/ Amanda R. Bakowski
                                                                                         Attorney’s signature


                                                                                       Amanda R. Bakowski
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